      Case 2:12-cr-00255-TLN Document 135 Filed 02/09/16 Page 1 of 2


 1

 2

 3

 4                           UNITED STATES DISTRICT COURT

 5                           EASTERN DISTRICT OF CALIFORNIA

 6

 7   UNITED STATES OF AMERICA,                  No. 2:12-cr-00255-GEB
 8                   Plaintiff,
 9        v.                                    ORDER AUTHORIZING SEALING
                                                GOVERNMENT’S LETTER FOR DOWNWARD
10   LYNN FERRELL SMITH,                        DEPARTURE AND DEFENDANT’S
                                                REQUEST TO SEAL DOCUMENTS
11
                     Defendant.
12

13              On     February    4,   2016,       Defendant      filed   a     “Notice   of

14   Request to Seal Document(s)” (the “Request”), (ECF No. 133), in

15   which he states in part that the following document should be

16   sealed: “Requests to Seal Document (To Be Filed Under Seal)” (the

17   “Document”).      The   Request    does       not   explain    that    the    Document

18   consists of Defendant’s sealing argument and case authority. Rule

19   141(b) contemplates that the public docket concerning whatever is

20   given to the judge for an in camera sealing request “provide[s

21   the public] a kind of index to . . . [the] documents, . . . [so

22   as to] endow the public and press with the capacity to exercise

23   their rights guaranteed by the First Amendment.” Hartford Courant

24   Co. v. Pellegrino, 380 F.3d 83, 93 (2d Cir. 2004).

25              Defendant also requests that “[a]ccess to the sealed

26   document . . . be limited to the government and counsel for the

27   [D]efendant,” (ECF No. 133-1 at 2), and Defendant asserts in the

28   Document   that    since     the   publicly-filed       Request       was    filed    six
                                               1
      Case 2:12-cr-00255-TLN Document 135 Filed 02/09/16 Page 2 of 2


 1   weeks before the requested hearing date on the Motion to Reduce,

 2   (ECF No. 132), the notice gives potentially interested parties

 3   reasonable opportunity to object.

 4                The proponent of a sealing order must articulate “the

 5   reasons      supporting      [sealing] . . .      in      [proposed]    findings.”

 6   Oregonian Publ’g Co. v. U.S. Dist. Court for Dist. of Or., 920

 7   F.2d 1462, 1466 (9th Cir. 1990); see Unabom Trial Media Coal. v.

 8   U.S. Dist. Court for E. Dist. of Cal. (Sacramento), 183 F.3d 949,

 9   951   (9th    Cir.   1999)    (stating     “the   court    articulates       specific

10   factual findings supporting closure”). Defendant states in the

11   Request that the basis of the sealing request is the “nature of

12   the   information”     sought    to   be     sealed.   (ECF    No.     133    at   1.)

13   Although      this    conclusory      stated       basis      is     questionable,

14   Defendant’s request is granted.

15                Access to the sealed documents shall be limited to the

16   government and counsel for Defendant.

17                Further, the Clerk of Court shall cease treating this

18   case as closed until after decision is rendered on Defendant’s

19   motion to reduce sentence that was filed on February 4, 2016.

20   Dated:     February 8, 2016
21

22

23

24

25

26
27

28
                                              2
